       Case 7:24-cv-00108-WLS         Document 22       Filed 03/24/25     Page 1 of 1




                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF GEORGIA
                             VALDOSTA DIVISION

RMC DEVELOPMENT, LLC,                      :
                                           :
       Plaintiff,                          :
                                           :
       v.                                  :       CASE NO.: 7:24-cv-00108 (WLS)
                                           :
STATE FARM FIRE AND                        :
CASUALTY COMPANY,                          :
                                           :
       Defendant.                          :
                                           :

                                          ORDER
       Before the Court is the Parties’ Joint Motion for Protective Order (Doc. 21-1). Therein,
the Parties move the Court to enter their Proposed Protective Order to govern potentially
protected discovery materials in the case. Generally, the Court agrees that the Proposed Order
is proper. However, the Proposed Order makes reference to a “Standing Order Regarding
Civil Litigation” and compliance with Section N. of that standing Order. (See Doc. 21-1 at 12).
But the Middle District of Georgia has no such standing Order, and the Court is unwilling to
enter a protective order which incorporates by reference procedures from what appear to be
another court. Accordingly, the Joint Motion for Protective Order (Doc. 21-1) is DENIED,
without prejudice. The Parties may resubmit their motion with alterations consistent with this
Order and the Rules of this Court.


       SO ORDERED, this 24th day of March 2025.

                                           /s/W. Louis Sands
                                           W. LOUIS SANDS, SR. JUDGE
                                           UNITED STATESDISTRICT COURT




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